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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Case No. 21-cr-57-8 (PAM/JFD)

UNITED STATES OF AMERICA,                     )
                                              )
                           Plaintiff,         )
                                              )
              v.                              )   ORDER OF DETENTION
                                              )
OMAR ALI OSMAN,                               )
                                              )
                           Defendant.

      On December 17, 2021, this matter came before the Court for a hearing to

determine whether Omar Ali Osman’s pretrial release should be revoked pending

trial. Mr. Osman appeared in custody and was represented by Kevin W. DeVore.

The United States was represented by Assistant United States Attorney Angela

Munoz. Because of the ongoing realities of the COVID-19 pandemic, Mr. Osman

consented to holding the hearing via video teleconference rather than exercising his

right to an in-person hearing.

      At the hearing, the United States introduced one exhibit and presented

testimony from United States Probation Officer Krystal Taylor regarding Mr.

Osman’s alleged violations of pretrial release. Mr. Omar presented testimony of

Sherehan Hassan.      After considering the Petition for Action On Conditions of

Pretrial Release and related materials (Dkt. Nos. 155; 157), the exhibit introduced by

the United States, and the testimony of the witnesses, the Court finds that there is

clear and convincing evidence of pretrial release violations. Accordingly, the Court

revokes Mr. Osman’s pretrial release and he will be detained pending trial.
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                               FINDINGS OF FACT

      1.   Mr. Osman is charged by indictment with a conspiracy to commit wire

fraud and substantive wire fraud counts relating to his participation in a scheme to

defraud the Medicaid program. The indictment alleges that Mr. Osman submitted

fraudulent claims for reimbursement to the Medicaid program for interpretation

services that he purportedly provided to Medicaid beneficiaries.

      2.   On March 17, 2021, Mr. Osman was arrested and made his initial

appearance before Magistrate Judge Schultz.           The Court imposed numerous

conditions of pretrial release on Mr. Osman. The release conditions, as relevant to

the allegations before the Court, include that Mr. Osman submit to supervision by

and report for supervision to the U.S. Probation and Pretrial Services as directed and

ensure your supervising officer has a means to reach you; and submit to testing for a

prohibited substance if required by the supervising officer.

      3.   Between April 2021 and August 2021, Mr. Osman submitted several urine

samples that were confirmed positive for cannabinoids, submitted one urine sample

that was confirmed positive for marijuana, and failed to report for multiple drug tests.

On August 25, 2021, the Court added a substance abuse assessment and treatment

condition to his release conditions.

      4.   On November 16, 2021, Mr. Osman reported for a drug test and was

alleged to have attempted to obstruct or tamper with the accuracy of the drug testing

by using a manipulation device called a Whizzinator. Mr. Osman appeared before

Magistrate Judge Leung on November 30, 2021 for a bond revocation and detention




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hearing. Mr. Osman was released from custody and his pretrial conditions were

modified to include participation in intensive outpatient substance abuse treatment

with lodging at Park Avenue Center.

      5.   On December 10, 2021, United States Probation and Pretrial Services

filed a Petition for Action on Conditions of Pretrial Release that Mr. Osman show

cause why the Court should not revoke his pretrial release. The Petition alleged that

Mr. Osman was unsuccessfully discharged from treatment at Park Avenue Center

because he was absent without leave from December 4, 2021 to December 5, 2021.

The Petition further alleged that Mr. Osman tried to bribe staff with $200 to keep

quiet that he was absent without leave, and he accused another staff member of lying.

Finally, the Petition alleged that since being discharged from treatment, Mr. Osman

failed to contact Probation Officer Taylor.

      6.   Probation Officer Taylor provided testimony regarding Mr. Osman’s

historical use of marijuana and why Pretrial Services initially recommended that Mr.

Osman’s release conditions include substance abuse testing.        Probation Officer

Taylor provided additional testimony regarding the history of Mr. Osman’s positive

drug tests and his November 16, 2021 attempt to manipulate the results of a drug

test. Probation Officer Taylor provided testimony regarding receiving a phone call

from the Park Avenue Center staff reporting Mr. Osman’s discharge from treatment,

the reasons why he was discharged, and Mr. Osman’s failure to report to her that he

was unsuccessfully discharged.




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                               CONCLUSIONS OF LAW

      7.   A person released pursuant to 18 U.S.C. § 3142 is subject to revocation

upon violating conditions of pretrial release. 18 U.S.C. § 3148. The Court shall

revoke and detain a defendant if, after a hearing, a judicial officer:

      (1) finds that there is—

             (A) probable cause to believe that the person has committed a Federal,
                State, or local crime while on release; or

             (B)     clear and convincing evidence that the person has violated any
                   other condition of release; and

      (2) finds that—

             (A)      based on the factors set forth in section 3142(g) of this title, there
                   is no condition or combination of conditions of release that will assure
                   that the person will not flee or pose a danger to the safety of any
                   other person or the community; or

             (B)     the person is unlikely to abide by any condition or combination of
                   conditions of release.

18 U.S.C. § 3148(b).

      8.   The Court concludes there is clear and convincing evidence that Mr.

Osman violated two conditions of his pretrial release, including (1) submit to

supervision by and report for supervision to the U.S. Probation and Pretrial Services

as directed and ensure your supervising officer has a means to reach you; and

(2) participate in intensive outpatient treatment with lodging at Park Avenue Center.

      9.   The Court further concludes, given Mr. Osman’s repeated violations of

pretrial release, that there is no condition or combination of conditions that will

assure that Mr. Osman will not flee. Mr. Osman’s record on supervision is poor. He




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has a series of failed drug tests and failures to report for testing that began in April

0f 2021. When brought before Magistrate Judge Leung on November 30 he was given

another chance and ordered by the Court to report to the Park Avenue Center for

intensive inpatient therapy. Instead of availing himself of this opportunity, Mr.

Osman reported to the Park Avenue Center only to inform staff that he would not

enter the facility and offering staff a bribe in order to have his behavior kept secret.

Although Mr. Osman “reported” to Park Avenue on December 2 and was not

terminated from Park Avenue until December 6, the impression given by these dates,

that he actually spent four days in treatment (itself a very short time) is misleading;

Mr. Osman really never went inside Park Avenue at all.

      10. The Court bases its decision to revoke Mr. Osman’s pretrial release and

order him detained on his risk of flight. The Court makes no findings regarding the

risk of harm to any other person or to the community.

                                   CONCLUSION

      Based on the evidence and record, the Court revokes Mr. Osman’s pretrial

release and orders him detained pending trial. For the foregoing reasons, IT IS

HEREBY ORDERED that:

      1.   The motion of the United States for revocation and detention is

GRANTED;

      2.   The Defendant is committed to the custody of the Attorney General for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;




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      3.   The Defendant shall be afforded reasonable opportunity to consult

privately with counsel; and

      4.   Upon Order of the Court or request by the United States Attorney, the

person in charge of the corrections facility in which the Defendant is confined shall

deliver the Defendant to the United States Marshal for the purpose of appearance in

connection with further court proceedings.


Dated: December 20, 2021                     ____s/ John F. Docherty_______
                                             John F. Docherty
                                             United States Magistrate Judge




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